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                            UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF MISSOURI
                                  EASTERN DIVISION

UNITED STATES OF AMERICA,                     )
                                              )
       Plaintiff,                             )
                                              )
v.                                            )    No. 4:10CR217 HEA
                                              )
ROCKY FLETCHER,                               )
                                              )
       Defendant.                             )

                                            ORDER

       IT IS HEREBY ORDERED that a change of plea hearing is set in this matter for

Wednesday, June 16, 2010, at 11:45 a.m. in the courtroom of the undersigned.

       Dated this 14th day of June, 2010.




                                            ________________________________
                                               HENRY EDWARD AUTREY
                                             UNITED STATES DISTRICT JUDGE
